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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,           :               CASE NO. 1:17-CV-01151 MN
                             :
         Plaintiff,          :
                             :
     v.                      :
                             :
WILLIAM SCHELL, IV;          :               JURY TRIAL DEMANDED
DOMINICK DAFFNER; WORLD :
CHAMPIONSHIP PUNKIN'         :
CHUNKIN' INC.; PUNKIN        :
CHUNKIN ASSOCIATION; FRANK:
PAYTON; FRANK SHADE; TERRY:
BREWSTER; DAVID QUIGLEY; :
MCCULLEY, EASTHAM &          :
ASSOCIATES, INC.; WHEATLEY :
FARMS, INC.; E. DALE         :
WHEATLEY; JEFFREY T.         :
WHEATLEY; DISCOVERY          :
COMMUNICATIONS, INC.; STATE:
OF DELAWARE and the STATE OF :
DELAWARE (DEPARTMENT OF :
NATURAL RESOURCES AND        :
ENVIRONMENTAL CONTROL), :
                             :
         Defendants.         :

            STIPULATION OF DISMISSAL WITH PREJUDICE

      IT IS HEREBY STIPULATED by and between the parties, through their

undersigned counsel, and subject to approval by the Court, that Plaintiff’s

Complaint and all claims therein, and all Crossclaims between the Defendants are

hereby DISMISSED WITH PREJUDICE.
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and Terry Brewster                       Schell, IV
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        SO ORDERED this _____ day of _______________, 2019.

                                   _____________________________
                                   J.


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